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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

 M.D., b/n/f Sarah R. Stukenberg, et al., §
                                          §
       Plaintiffs,                        §
 v.                                       §
                                          §
 GREG ABBOTT, in his official capacity as §
 Governor of the State of Texas, et al.,  §
                                          §         Civil Action No. 2:11-CV-00084
       Defendants.                        §




                  Update to the Court Regarding Child Fatalities

After learning through the Monitors of the death of a child in the PMC General Class, the
Court ordered on February 21, 2020:

Within 24 hours of this order’s time and date, Defendants are ordered to report to the
Monitors the death of any PMC child occurring from July 31, 2019 forward until further
order of this Court. Defendants are further ordered to provide to the Monitors all
records that the Monitors deem necessary and relevant including, but not limited to,
reports, interviews, witness statements, and investigations from any and all said deaths
that have occurred from July 31, 2019 forward until further order of this Court.

Defendants have continued to provide notification to the Monitors of PMC child fatalities.
As discussed in prior reporting to the Court, DFPS notified the Monitors that 49 children
in the PMC General Class died between July 31, 2019 and November 1, 2023. These
fatalities included eight children whom DFPS determined were abused or neglected by
their caregivers in connection with their deaths or their care prior to their deaths.

DFPS reported 16 additional PMC children died between November 2, 2023 and February
5, 2025, bringing the number of PMC children who have died since July 31, 2019 to 65.
Of the 16 children who died during this report period, DFPS or HHSC determined that
ten of these children’s deaths did not involve abuse or neglect or determined that an
investigation was not necessary; related to one of those deaths, DFPS substantiated a
prior primary caregiver for Neglect in incidents leading up to the child’s death in a respite
home. These ten fatalities involved eight children with severe medical conditions, one
teenager who was involved in a fatal car accident and one teenager who died from a
fentanyl overdose. As of February 5, 2025, DFPS’s investigations into the remaining six
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children’s deaths remained open. The Monitors will review and discuss these children’s
deaths in the next report to the Court.

Child Fatalities Involving Children in the PMC Class

Child Fatalities, No Abuse or Neglect Determined as Cause of Death

A.F., Born August 2, 2020; Died November 14, 2023

A.F., a three-year-old girl, passed away from significant medical complications in a
hospital. A.F. had the following diagnoses: neurotrophic keratitis of the left eye,
coarctation of the aorta, hydrocephalus, cloacal malformation, cyst of the posterior
cranial fossa, macrocephaly, severe acquired plagiocephaly of the right side of the head,
pressure injury to the skin of the right side of the head, deformity of the left hand, neonatal
anemia, abdominal wall hernia, caudal regression syndrome and congenital cerebral
ventriculomegaly. A.F. used a gastrostomy tube and ventriculoperitoneal shunt, had a
laparoscopic transverse colostomy and depended upon oxygen.

Since 2022, A.F. was subject to an active Do Not Resuscitate (DNR) order. At the time of
her death, A.F. resided in a foster home for children with primary medical needs, where
she was provided with nursing care for 24 hours each day. Her foster parents were also
both pediatric nurses. On November 10, 2023, four days prior to A.F.’s death, her foster
parents contacted emergency medical services (EMS) when A.F. developed a fever and
abnormal vital signs; EMS transported the child to the hospital, where she was admitted
until her passing on November 14, 2023. According to A.F.’s death certificate, the causes
of her death were: “acute on chronic hypoxemic respiratory failure, haemophilus
influenza sepsis and bacteremia, complex medical history with multiple comorbidities
[and] multiple congenital abnormalities.”

During RCCI’s investigation of A.F.’s death, a Forensic Assessment Center Network
(FACN) consult was conducted and the FACN physician found no concerns for abuse or
neglect by A.F.’s foster parents. A.F.’s attending physicians, nurses and speech and
physical therapists also reported to the investigator no concern for maltreatment of the
child. Based upon this information, RCCI Ruled Out Neglectful Supervision of A.F. by her
foster parents. Due to A.F.’s medical condition and DNR order, the county medical
examiner did not perform an autopsy.

H.H., Born February 17, 2006; Died December 6, 2023

H.H., a 17-year-old girl, passed away in a hospital one month after sustaining a traumatic
brain injury in a car accident. At the time of the car accident, H.H. had been on runaway
status for four weeks from Connections,1 an emergency shelter. On the morning of
October 2, 2023, after Connections’ staff members transported her to her job, H.H. ran
away from her place of employment. After learning from H.H.’s employer that she had
1 Since November 2023, Connections has been subject to Heightened Monitoring. This is the second time

the operation has been on Heightened Monitoring. Connections was not subject to Heightened Monitoring
at the time H.H. ran away.

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not been scheduled to work that day, staff members reportedly called and texted H.H. and
searched the area near the child’s employment, but they were unable to locate her. During
her elopement, DFPS attempted to locate H.H., but was unable to do so. The child’s record
documents that, for an unknown period of time while on runaway, H.H. stayed in a hotel
with three former foster children and that they struggled to find food and shelter. DFPS
learned that H.H. was staying in a hotel after one of the older youths in the hotel contacted
a former RTC staff member asking for food and this individual notified DFPS. DFPS staff
members worked with this individual to locate the hotel over a two-to-three-day period;
however, the children refused to provide their location. DFPS also attempted to engage
law enforcement, who reportedly were unable to assist without knowing the children’s
location.

Four weeks after running away, on November 2, 2023, H.H. was involved in a car
accident, which resulted in her hospitalization. While hospitalized, H.H. was placed on
life support until her death on December 6, 2023. RCCI did not pursue an abuse, neglect
or exploitation investigation into H.H.’s death or elopement, though the DFPS Child Plan
in effect at the time required her to be under heighted supervision due to a history of
running away.2


D.M., Born July 17, 2006; Died April 2, 2024

D.M., a 17-year-old girl, passed away from a fentanyl overdose in a respite foster home
where she had been placed for six days. She was diagnosed with disruptive mood
dysregulation disorder (DMDD) and Post-traumatic stress disorder (PTSD) and had a
history of self-harm. On the day of her death, the child’s respite foster parent found D.M.
unresponsive in her bed with foam on her mouth and called 911. When law enforcement
arrived at the home, they attempted cardiopulmonary resuscitation (CPR) on the child
before transporting her to the hospital, where she was pronounced deceased.

On April 2, 2024, RCCI opened an abuse or neglect investigation into D.M.’s death in the
respite foster home. Three months later, on July 3, 2024, RCCI closed the investigation
with a disposition of Ruled Out for the allegation of Neglectful Supervision, finding that



2 The Supervision section of H.H.’s Child Plan in effect at the time noted, “[H.H.] is not allowed to be alone

without supervision due to her recently running away.” Though it is possible that the Child Plan was not
violated when the facility’s staff member dropped her off at the deli where she worked, there was no
investigation and no inquiry into those details. The intake for the runaway report said only that H.H. was
“taken to work at 8:50 a.m.” and that at 10:03 a.m., someone spoke to her work supervisor and discovered
that H.H. was not scheduled to work that day. The reporter did not explain (or the notes did not capture)
what prompted the conversation with the child’s supervisor.

Before H.H. ran away from Connections, the operation had notified DFPS (and H.H.) that it planned to
discharge the child on September 30, 2023. Connections suggested that H.H. might qualify for the GRO’s
transitional living program (TLP). However, H.H. decided that she did not want to enter the TLP program
and wanted to leave Connections. DFPS advised H.H. that it did not have another placement for her, and
H.H. agreed to stay at Connections 30 more days to give DFPS time to find another placement. H.H. would
have turned 18 years old on February 17, 2024.

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the respite caregivers provided D.M. with adequate supervision during the child’s brief
stay in their home. In its Dispositional Summary, RCCI concluded:

        A disposition of Ruled Out was determined after careful consideration of
        the evidence, TAC, and policy. Law Enforcement was active in the case and
        a person of interest was arrested for “Manufacture delivery” who was the
        one who made the pills accessible to [D.M.]. [The respite foster parents]
        stated they did not have any issues from [D.M.], and [D.M.] had asked them
        if she could stay in the home. [The respite foster parents] stated [D.M.] had
        not left their home and they were with [D.M.] all of the time throughout her
        stay in their home. While placed with [the respite foster parents], [D.M.]
        did not go anywhere unattended, making it very difficult to assess [sic] any
        illegal substances. [D.M.] appeared as a happy teenager and asked to stay
        longer in the respite home.

Prior to her short stay in the respite foster home where she died, D.M. was placed in a
therapeutic foster home for three months from December 27, 2023 until March 27, 2024.
While in this placement, D.M. used substances that exposed her to a clear risk of harm.
For example, on March 5, 2024, a young adult placed in the foster home (Individual 1, age
18, in extended DFPS care) found D.M. unconscious on the bathroom floor of the home.
When EMS arrived at the foster home, they administered NARCAN to D.M. both
intranasally and intravenously, which resuscitated her. EMS then transported D.M. to the
hospital, where she was seen for “marijuana abuse and altered mental state.” Regarding
this incident, D.M. reported that she used a Tetrahydrocannabinol (THC) “vape pen” at
school and that she did not want to harm herself nor had she experienced suicidal
thoughts in recent years. Laboratory results did not indicate that the child had taken an
opioid; however, because naloxone restored D.M.’s breathing that night, the responding
law enforcement officer suspected that D.M. knowingly or unknowingly ingested an
opioid. When questioned by the officer, D.M. reported that she did not know what an
opioid was.

After the incident, D.M. was placed in a psychiatric hospital for one week before returning
to the same therapeutic foster home.3 One day after D.M. returned from the hospital, on
March 14, 2024, the foster parent took a video of D.M. and Individual 1 seemingly under
the influence of a substance and provided the video to the CPA. Two weeks later, on the
night of March 27, 2024, D.M. found Individual 1 unconscious on the bathroom floor of
the foster home due to a suspected overdose. When law enforcement responded to the
incident, they provided Individual 1 with NARCAN, which restored her consciousness. On
this same date, D.M. was moved to the respite foster home; D.M. may have brought with
her the substance that later caused her death.

Following the incident on March 5th when Individual 1 found D.M. unconscious on the
foster home’s bathroom floor, RCCI initiated an investigation of Neglectful Supervision
of D.M. by the therapeutic foster parent. On August 31, 2024, RCCI closed the
3 According to the therapeutic foster home’s CPA, after the incident on March 5th, the foster parent

requested a respite from fostering; however, the CPA failed to follow through with the foster parent’s
request. The CPA administrator stated that finding a respite caregiver for a teenage girl was difficult.

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investigation with a substantiated disposition for Neglectful Supervision by the foster
parent.4 The investigator found that there was a preponderance of evidence that, despite
the foster parent’s knowledge that D.M. was using substances in the foster home, the
foster parent failed to supervise D.M. in accordance with her service and safety plans and
failed to take reasonable actions to address D.M.’s ongoing substance use in the foster
home. In its Dispositional Summary, RCCI included the following example of the foster
parent’s failure to respond to D.M.’s substance use in the home:

        On 03/14/24, [the foster parent] sent a recorded video to [the CPA program
        director] in which both [D.M. and Individual 1] appear under the influence,
        with slurred speech, and spaced out. [The foster parent] is video recording
        the girls and [the foster parent] can be heard talking to [D.M.] while
        recording. It was confirmed that the [the CPA program director] advised
        [the foster parent] to increase supervision and to look for rehabilitation
        centers for them and [the foster parent] didn't follow up with this. [The CPA
        program director] confirmed that [the foster parent] didn't confront either
        girls [sic] with the concerns or their current physical and mental state and
        [the CPA program director] was the one who confronted both girls the
        following day. Also, [the foster parent] didn’t notify anyone in [D.M.’s and
        Individual 1’s] team to inform them of the concerns that [D.M.] was still
        using substances the next day after being discharged from the hospital.

RCCI concluded the following in support of the disposition of Reason to Believe:

        [The foster parent] failed to follow with [D.M.’s] supervision as stated on
        [D.M.’s] safety plan and service plan. [The foster parent] failed to notify
        [D.M.’s] CVS caseworker or team of the concerns of [D.M.] being under the
        influence the day after being discharged from the hospital. [The foster
        parent] failed to seek any professional help for [D.M.’s] substance abuse or
        reach out to the recommended services [D.M.] had been recommended by
        [behavioral healthcare provider]. [The foster parent] failed to follow
        through with the recommendations of her CPA to seek rehabilitation
        assistance and increase supervision of [D.M. and Individual 1]. [The foster
        parent] failed to increase supervision and/or implement any monitoring
        devices to help aid with supervision of [D.M.] to ensure that [D.M.] wouldn’t
        consume or have access to any illegal substances or took [sic] an action that
        would be harmful to her. [The foster parent] didn’t implement any safety
        measures to ensure no illegal substances were being brought into the home
        or used in the home. Due to this negligence, on 03/27/24, [Individual 1] was
        found unconscious and overdosed in [the foster parent’s] home, making this
        the 2nd household member overdosing in about 3 weeks.



4 The investigation took nearly six months to be completed and closed, and there were insufficient approved

extensions, in violation of Remedial Order 10. A 30-day extension was approved on March 29, 2024; a
second 30-day extension was approved on April 29, 2024; a 21-day extension was approved on May 24,
2024 and a third 30-day extension was approved on June 21, 2024.

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        [The foster parent] failed to take an action that a reasonable person in her
        profession with 13 years of experience and trainings should had [sic] taken
        to ensure [D.M.] was safe and out of harm. [The foster parent] would have
        known to take precautionary measures to protect [D.M.] from any current
        or future harm. [The foster parent] showed blatant disregard on [D.M.’s]
        safety and well-being by not taking the appropriate actions she should have
        taken to supervise and help [D.M.] with her substance abuse. [The foster
        parent] was well aware that [D.M.] continued to use drugs while in her care
        and home. [The foster parent] didn’t take any type of action to seek help for
        [D.M.], increase her supervision, notify [D.M.’s] team of the concerns, or
        seek out assistance from [D.M.’s] doctor, psychiatrist, and/or therapist.
        [D.M.] was a vulnerable child with past history of abuse and trauma,
        someone with current mental health problems who wasn’t under any
        medication and wasn’t seeing a therapist, and she solely depended on [the
        foster parent] to ensure her basic needs, medical, and mental needs were
        being met. The preponderance of evidence supports a Reason to Believe
        finding for Neglectful Supervision of [D.M.] by [the foster parent].

In addition to the failure of the therapeutic foster parent to adequately supervise and care
for D.M., RCCI’s investigations highlighted failures by the CPA, Open Hearts Children
and Family Services (Open Hearts),5 charged with oversight and support of both the
therapeutic foster home and the respite foster home in which D.M. was placed
immediately prior to and at the time of her death. The investigative records contain the
following concerns:

    •   On March 13, 2024, when D.M. was discharged from the hospital following the
        March 5 incident, D.M.’s discharge paperwork required that D.M. attend Intensive
        Outpatient Treatment Services and included new prescribed medications to treat,
        among other things, D.M.’s depression. As noted above, the foster parent failed to
        ensure that D.M. received outpatient treatment and her medications, both of which
        D.M. reportedly refused. However, despite having notice of this, the record does
        not include evidence that anyone at the CPA took adequate action to address this
        gap in D.M.’s treatment following the March 5 incident. This failure is particularly
        troubling since the CPA staff members acknowledged that the foster parent was
        “overwhelmed” caring for D.M. and the other young adults in her home and that
        the issues presented by D.M. and Individual 1 were “out of the norm,” despite the
        foster parent having cared for “hard teenagers” in the past.6 In the accompanying
        Minimum Standards investigation, HHSC cited the CPA for this issue,
        documenting that the “child placement management staff were aware of a child’s
        increasing behavioral concerns and did not provide the level of support needed by


5 Since October 30, 2023, Open Hearts Children and Family Services has been subject to Heightened

Monitoring. The patterns identified by the operation’s Heightened Monitoring Plan included deficiencies
related to foster home screenings, background checks, and caregiver supervision.
6 The CPA administrator reported that Empower, the SSCC responsible for D.M.’s case management, did

not adequately support D.M. and the foster home during this time period. She stated, “Empower left it all
on the agency [the CPA].”

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         the caregivers, nor the appropriate oversight needed to ensure the safety of the
         children placed in the home.”7

     •   In response to video footage of D.M. appearing under the influence of a substance
         in the foster home on March 14, 2024, a CPA staff member verbally instructed the
         foster parent to increase supervision of D.M.8 and to research rehabilitation
         centers for the child. Again the foster parent did not follow the instruction of the
         CPA and the CPA did not take adequate action regarding this failure, including
         contemplating moving D.M. from the foster home or increasing oversight of D.M.’s
         services; such a consideration by the CPA would have been warranted particularly
         given the concern of D.M.’s continued use of substances in the foster home, the
         foster parent’s repeated inability to prevent or mitigate such use, and the foster
         parent’s vocalized request to have a respite from fostering after the March 5th
         incident.

     •   On March 27, 2024, following Individual 1’s suspected overdose in the foster home,
         D.M. was placed in the respite foster home, which typically cared for elementary
         aged children in care. There was no one from the CPA present at the time D.M. was
         placed in the respite foster home; instead, the therapeutic foster parent
         transported the child to the new respite home and personally relayed information
         about D.M. and her history to the new foster parents. In the absence of the CPA
         appropriately overseeing the transition of D.M. to the new respite foster home,
         RCCI found that the CPA and child’s caseworker failed to provide the new foster
         parents with any “specialized supervision or care” instruction regarding D.M. and
         her recent history of substance use.9,10 Therefore, in the absence of any specialized
         or heightened supervision requirements for the child, RCCI found the respite
         foster parents “provided the care and supervision to the best of their ability with
         the minimal information they were provided about [D.M.].”11

At the close of RCCI’s investigation, HHSC issued ten citations for minimum standards
violations.

According to CLASS, the therapeutic foster home, which opened in 2011 and changed
CPAs several times prior to being licensed by Open Hearts, was the subject of 14
investigations, three of which involved allegations of abuse, neglect, or exploitation and
the other 11 were investigations into minimum standards violations. In addition to the

7  HHSC cited the following Minimum Standard §749.2591(a)(1) - “Supervision-Child placement
management staff must ensure that supervision accounts for the specific needs of the children in care in
each home.”
8 It does not appear the CPA operationalized the new requirement of “increased supervision” for the foster

parent; it is, therefore, unknown how often the foster parent was expected to check on D.M.
9 D.M.’s caseworker reported that she did not implement a safety plan in the respite foster home because

D.M. was no longer placed in the same home with Individual 1 and it was presumed that, without the
negative influence of Individual 1, D.M. would no longer use substances.
10 Given that EMS had also recently revived both D.M. and Individual 1 using naloxone after they had used

a suspected opioid, the CPA also should have considered providing both sets of foster parents with
naloxone.
11 Emphasis added.


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substantiated disposition in this case, another investigation,12 which was still open when
D.M. died, also resulted in a substantiated disposition for Neglectful Supervision against
the foster parent and six citations for minimum standards deficiencies. In that
investigation, RCCI found that the foster parent:

    •   Failed to follow a child’s (age 16) service plan and was “willfully and intentionally
        not following up on [the child’s] educational and supervision needs.”
    •   Failed to realize the child had run away until she had been gone for 22 hours and
        failed to increase supervision for the child after a prior runaway incident. This was
        particularly problematic given the child’s history of sex trafficking.
    •   Refused to take the child to the hospital for medical care after a CASA volunteer
        (who returned her to the home after the runaway incident) advised the foster
        parent that it was a medical emergency, and that she could not take the child for
        care because she was not a medical consenter.
    •   Failed to follow through with the doctor’s discharge recommendations for the
        child.

Open Hearts relinquished verification of the therapeutic foster home on June 21, 2024,
with the reason listed as “involuntarily closed due to deficiencies.”

K.C., Born February 26, 2021; Died April 6, 2024

K.C., a three-year-old boy, passed away from significant medical complications. K.C. had
the following diagnoses caused by Physical Abuse in his birth home: traumatic brain
injury, cardiac contusion, optic nerve edema, failure to thrive, global developmental
delay, unspecified severe protein-calorie malnutrition, abnormal weight loss, contracture
on an unspecified hand, epilepsy and seizures. K.C. was blind and nonverbal and used a
nasogastric tube. From July 2023 until his death, K.C. resided in a foster home for
children with pervasive developmental disorders; in the home, K.C. was provided with
nursing hours for 24 hours each day. Prior to his death, K.C. was receiving hospice care
and was subject to an active DNR order.

According to RCCI’s fatality investigation, for several months prior to K.C.’s death, he
experienced a significant decline in his health, as evidenced by more frequent and painful
seizures, an inability to regulate his temperature and sleeping more often. On the date of
his death, April 6, 2024, K.C.’s oxygen saturation and heartrate continued to decline until
he passed at 1:15 p.m. in the foster home. K.C.’s autopsy listed the following cause of
death: “Complications of remote blunt head trauma” and the following contributing



12 This investigation (IMPACT Case ID: 50004084) opened on February 25, 2024, two months after D.M.’s

placement in the therapeutic foster home and involved allegations that a child (age 16) in the foster home
ran away from the home undetected by the foster parent and returned to the home experiencing stomach
pain, for which the foster parent did not seek medical care. The child’s CASA volunteer reportedly took the
child to the hospital, where she was diagnosed with a urinary tract infection and dysfunctional uterine
bleeding. On June 14, 2024, RCCI substantiated the allegation of Neglectful Supervision against the foster
parent and Ruled Out the allegation of Medical Neglect.

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condition: “Respiratory syncytial virus (RSV) B infection.”13 In response to his death,
K.C.’s pulmonologist reported to the investigator that K.C. “was in high risk for death”
and that his foster parents are “an amazing foster family.” A DFPS Nurse Consultant
reviewed K.C.’s medical records and did not express any concern related to the child’s
quality of care in the home. The RCCI investigator also interviewed K.C.’s hospice doctor,
pediatrician, neurologist, caseworker and nurses, the CPA Treatment Director and the
caseworkers and nurses of other children in the home; these individuals reported that
K.C. received “remarkable” and “loving” care in the foster home. Based upon this
information, RCCI Ruled Out Neglectful Supervision and Medical Neglect of K.C. by his
foster parents.

G.B., Born December 6, 2019; Died May 10, 2024

G.B., a four-year-old girl, passed away from significant medical complications. Due to an
accidental drowning incident in G.B.’s birth home when she was an infant, G.B. was in a
vegetative state and had the following diagnoses: anoxic brain damage, quadriplegia,
intractable Lennox-Gastaut syndrome, severe hypoxic ischemic encephalopathy,
profound global delays and an undeveloped hand. G.B. used a gastrostomy tube and a
wheelchair and had a tracheostomy.

Since 2022, G.B. was subject to an active DNR order. In the last two months of her life,
G.B. resided in a therapeutic foster home where she was provided with nursing hours for
24 hours each day. On May 10, 2022, during a breathing treatment performed by G.B.’s
nurses, her heart stopped. Her caregivers called EMS; however, because G.B. was subject
to an active DNR order at the time, EMS did not perform CPR on the child, and she passed
away.

G.B.’s autopsy determined that the cause of her death was complications from the
drowning she experienced as an infant. During the RCCI investigation, the investigator
interviewed G.B.’s primary physician, CPA case manager, nurses and CVS and LPS
caseworkers and the nurses and CVS caseworker of her foster siblings; these individuals
reported no concerns regarding the quality of care G.B. received in the foster home. In
response to her death, G.B.’s primary physician reported that “she didn't have any
concerns regarding [the child’s] care or well-being.” Based on this information, RCCI
Ruled Out Neglectful Supervision of G.B. by her foster parents.

A.B., Born October 3, 2013; Died June 4, 2024

A.B., a ten-year-old girl, passed away from significant medical complications. A.B. had
the following diagnoses: Stage 4 polycystic kidney disease, pilocytic astrocytoma of the
hypothalamus, primary central diabetes insipidus, central hypothyroidism,
panhypopituitarism, hypertension, mitral valve prolapse (Barlow syndrome),
transaminitis, hepatic steatosis, Clostridium difficile carrier, hyponatremia, right-sided



13 The autopsy listed K.C.’s manner of death as “Homicide,” in relation to the Physical Abuse he experienced

prior to entering DFPS care.

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weakness, optic atrophy of both eyes, global developmental delay and speech and
cognitive delays.

From 2022 until her death, A.B. resided in a foster home for children with primary
medical needs, where she received approximately 50 nursing hours each week. RCCI
Ruled Out Neglectful Supervision of A.B. by her foster parent, who was continuously
devoted to the child and, according to all documentary evidence, improved A.B.’s life
immeasurably. In the home, the child made significant health strides, including gaining
strength to walk. However, on June 4, 2024, A.B. experienced a medical emergency in her
foster home and doctors later discovered internal bleeding in her gastrointestinal tract.
The child’s death certificate and autopsy both documented that the cause of her death was
“Pilocytic Astrocytoma and Polycystic Kidney Disease further complicated by co-infection
with Rhinovirus/Enterovirus and Parainfluenza Viruses and Acute Pyelonephritis.”
During RCCI’s abuse or neglect investigation, the investigator interviewed the child’s
caseworker, in-home teacher, CASA volunteer, physicians and physical, speech and
occupational therapists; these individuals did not report any concern for maltreatment of
the child in the foster home. The child’s physician reported that the child lived longer than
expected and “would have died sooner had it not been for her foster mother.”

E.L., Born February 23, 2011; Died June 15, 2024

E.L., a 13-year-old boy, passed away from significant medical complications. E.L. had the
following diagnoses: spastic quadriplegic cerebral palsy, epilepsy, intellectual disability,
other neurodevelopmental disorder and unspecified communication disorder. E.L. was
nonverbal and used a gastric tube and a wheelchair. From June 2023 until his death, E.L.
resided in a foster home, where he was provided with nursing hours for 20 hours each
day.

According to RCCI’s investigation into E.L.’s death, on June 15, 2024, a family member
found E.L. unresponsive in his foster home after the gastric tube in his stomach became
dislodged. In response, E.L.’s foster parent performed CPR on the child while another
individual called 911. Law enforcement and EMS arrived approximately 15 minutes later
to the foster home and determined that the child was deceased.

E.L.’s autopsy listed the following cause and contributing factors to E.L.’s death: “Acute
peritonitis due to displacement of percutaneous gastronomy tube” and “Cerebral palsy,
epilepsy, [and] premature delivery.” When interviewed by the RCCI investigator, the
Medical Examiner, an investigator in the Medical Examiner’s office and a nurse reported
that the foster parent would not have been able to identify that the child’s gastric tube was
internally dislodged and, as a result, incorrectly depositing food into E.L.’s abdominal
wall instead of his stomach, causing his death. The investigator did not interview
pertinent physicians who treated E.L. to confirm this information and to better
understand when the gastronomy tube may have become dislodged in relation to the
child’s feeding schedule and potential symptoms. The RCCI investigator interviewed a
nurse who worked with the physician who oversaw E.L.’s gastric tube and she reported
that “there were no concerns noted with [E.L.’s] care” in the foster home. Finally, the
investigator interviewed E.L.’s case manager, caseworker, former caseworker and nurse,

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office workers in his neurologist’s office and pediatric clinic, nurses and caseworkers for
other children in the home, and the foster parent’s biological children; these individuals
reported no concerns regarding the quality of care E.L. received in the foster home. In its
investigation into E.L.’s death, RCCI Ruled Out Neglectful Supervision of E.L. by his
foster parent.

A.M., Born September 17, 2006; Died July 10, 2024

A.M., a 17-year-old boy, passed away from significant medical complications in a hospital.
A.M. had the following diagnoses: mitochondrial encephalomyopathy lactic acidosis and
stroke-like episodes (MELAS) syndrome, dystonia, intellectual disability, right hip
subluxation, kyphosis, scoliosis, respiratory failure, oral aversion, diabetes and
hyperopia. A.M. was nonverbal and used a gastric tube, catheter, colostomy bag and
wheelchair. From 2015 until his last hospitalization, A.M. resided in a therapeutic foster
home, where he was provided with nursing hours for 60 hours each week. At the time of
his death, A.M. had been in hospice care for over one year and was subject to an active
DNR order.

According to RCCI’s investigation into A.M.’s death, on June 10, 2024, one month prior
to his death and several months after experiencing a significant decline in his health, A.M.
exhibited increased vomiting, coughing and congestion; his foster mother called EMS
under the advice of his gastroenterologist, at which point A.M. was transported and
admitted to the hospital. On July 10, 2024, A.M. passed away at the hospital.

A.M.’s death certificate listed the following cause of death: “MELAS.” In response to his
death, A.M.’s gastroenterologist reported that A.M. lived longer than was expected for
someone with his condition and that this was due to his foster parent’s proactive care. In
her investigation into A.M.’s death, the RCCI investigator also interviewed A.M.’s primary
care physician, hospice nurse and physical and occupational therapists; these individuals
reported no concerns regarding the quality of care A.M. received in the foster home. Based
upon this information, RCCI Ruled Out Neglectful Supervision of A.M. by his foster
parent. Due to A.M.’s medical condition and DNR order, the county medical examiner did
not perform an autopsy.

M.J., Born May 29, 2012; Died July 26, 2024

M.J., a 12-year-old girl, passed away from significant medical complications. M.J. had the
following diagnoses: chronic lung disease of prematurity, schizencephaly, epilepsy,
hydrocephalus, dysphagia, precocious puberty, adrenal insufficiency, respiratory failure
and neurogenic bladder and bowels. M.J. was nonverbal and used a tracheostomy tube, a
gastric tube, a ventriculoperitoneal shunt and a wheelchair. From 2016 until her death,
M.J. resided in a foster home for children with pervasive developmental disorders, where
she was provided with nursing hours for 24 hours each day. At the time of her death, M.J.
had been receiving hospice care for several years and was subject to an active DNR order.

According to RCCI’s investigation, five weeks before her death, M.J.’s health declined,
and she began experiencing more frequent seizures. On July 26, 2024, M.J.’s oxygen

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levels and heart rate dropped, and she passed away in her foster home. M.J.’s death
certificate listed the following cause of death: “Respiratory failure” and the following
contributing conditions: “Recurrent resistant to treatment epilepsy, Complications
Microcephaly, Ventilator Dependent.” In response to her death, M.J.’s hospice
pediatrician reported to the investigator that the child’s death “was expected due to her
medical conditions.” The RCCI Investigator also interviewed M.J.’s foster family, nurses,
caseworker, neurologist, the CPA Family Specialist, and the nurses of other children in
the home; these individuals reported no concerns regarding the quality of care M.J.
received in the foster home. Based upon this information, RCCI Ruled Out Neglectful
Supervision and Medical Neglect of M.J. by her caregiver. Due to M.J.’s medical condition
and DNR order, the county medical examiner did not perform an autopsy.

D.M., Born June 4, 2022; Died September 1, 2024

D.M., a two-year-old girl, passed away from significant medical complications in a
hospital. D.M. had the following diagnoses: omphalocele, imperforate anus, tethered
spinal cord syndrome, duplicate vagina, rectovesical fistula, rectal-bladder fistula,
hypothyroidism, clubfoot, severe malnutrition and developmental delay. D.M. used a
gastric tube and a colostomy bag and was awaiting a bowel transplant at the time of her
death.

From September 2023 until her death, D.M. resided in a therapeutic foster home, where
she was provided with nursing hours for 24 hours each day. Six days prior to her death,
D.M. was hospitalized after laboratory test results revealed she had low potassium levels.
On September 1, 2024, D.M. passed away at the hospital after receiving a blood
transfusion. D.M.’s death certificate listed the following causes of death: “Cardiac arrest,
Pulmonary hemorrhage due to disseminated intravascular coagulation, Bacteremia with
Enterobacter and Proteus, [and] Urinary tract infection with Pseudomonas.” The death
certificate also documented the following significant conditions that contributed to D.M.’s
death: “transaminitis from chronic TPN cholestasis, liver hemangioma, hydronephrosis,
[and] hypothyroidism.”

During RCCI’s investigation into D.M.’s death, an FACN consult was conducted and the
FACN physician found no concerns for abuse or neglect by D.M.’s foster parent. The RCCI
investigator interviewed D.M.’s neurologist; pulmonologist; two pediatricians; in-home
nurses; speech, physical and occupational therapists and hospital social worker; these
individuals reported no concerns regarding the quality of care D.M. received in the foster
home. Based on this information, RCCI Ruled Out Medical Neglect and Neglectful
Supervision of D.M. by her foster parent. Due to D.M.’s medical condition, the county
medical examiner did not perform an autopsy.

PMC Child Fatality Investigations Pending

N.S., Born August 26, 2015; Died December 12, 2023

N.S., an eight-year-old girl, appears to have passed away from significant medical
complications. N.S. had the following diagnoses, which were related to the child

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contracting meningitis as an infant: cerebral palsy, diabetes insipidus, hypothyroidism,
seizures, acute respiratory failure, gastroesophageal reflux disease (GERD), vertical
strabismus of the right eye, and severe cognitive and physical developmental delays. N.S.
was blind and nonverbal, used a wheelchair and a gastrostomy tube and required the
assistance of oxygen. The child had the developmental age of an infant. At the time of her
death, N.S. was subject to an active DNR order.

From January 2023 until her death, N.S. resided in a foster home for children with
pervasive developmental disorders. The foster parent, a nurse, was in the process of
adopting N.S. at the time of her death and had cared for the child since she was three
years old. On December 12, 2023, N.S. passed away after being life-flighted to the
hospital. N.S.’s death certificate listed the following cause of death: “Acute Pyelonephritis
with Sepsis.”

During the RCCI investigation into the child’s fatality, an FACN consult was conducted
and the FACN physician reported that she did not find concern “for possible abuse or
neglect contributing to this child’s death.” The RCCI investigator interviewed N.S.’s in-
home nurse (who was also the child’s former foster parent), caseworker and foster sibling;
these individuals stated that N.S. received appropriate care in the foster home and that
the family had been looking forward to adopting the child. Based on this information,
RCCI Ruled Out the allegation of Neglectful Supervision of the child by her foster parent.

On September 5, 2024, five months after RCCI’s fatality investigation closed, RCCI
opened a new investigation related to N.S.’s death and information included in the child’s
autopsy. As of February 5, 2025, the new investigation remained open.

A.R., Born January 6, 2012; Died August 2, 2024

A.R., a 12-year-old girl, appears to have passed away from significant medical
complications. A.R. had the following diagnoses: cerebral palsy, bradycardia, obstructive
sleep apnea, restrictive lung kyphoscoliosis, dysphagia, intellectual and developmental
disability, failure to thrive and global developmental delay. A.R. was nonverbal and used
a gastric tube, a tracheostomy tube and a wheelchair.

From January 2024 until her death, A.R. resided in a therapeutic foster home. According
to the open investigative record, on August 2, 2024, A.R. dislodged her tracheostomy tube
and went into respiratory distress. Shortly thereafter, the respite caregiver and the child’s
foster parents found A.R. unresponsive and performed CPR on the child until EMS
arrived. At the hospital, A.R. was pronounced deceased. As of February 5, 2025, RCCI’s
investigation into A.R.’s death remained open.

O.R., Born January 15, 2013; Died November 27, 2024

O.R., an 11-year-old boy, passed away from an unknown cause(s). O.R. had the following
diagnoses: autism spectrum disorder, other specified trauma and stressor related
disorder, reactive attachment disorder and attention-deficit/hyperactivity disorder


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(ADHD). At the time of his death, O.R. had been placed at Thompson’s Residential
Treatment Center for two weeks.

On November 27, 2024, the day of O.R.’s death, seven RTC staff members, including Staff
1 (the shift supervisor), took O.R. and 19 other children on an outing to a movie theatre
to see Gladiator II. After the movie concluded, O.R. was found unresponsive in his seat,
bleeding from his nose. Law enforcement responded to the child’s death and reviewed
surveillance footage at the movie theatre, reporting the following to SWI:

      [RTC] Staff claimed that [O.R.] was fine when they went into the movie.
      Staff then said that about 5 minutes before [the] end of the movie, they
      started to leave and [O.R.] was found cold, unresponsive, and bleeding from
      the nose. They were holding to that story that [O.R.] was fine most of the
      day, except for a possible stomachache. Another officer was told that [O.R.]
      kind of had a cold symptom, but they told [law enforcement] that [O.R.] was
      fine and walked into the movie on his own accord. Staff from boy’s home
      were released to go to the hospital with [O.R.] because it was believed there
      was nothing wrong. [Law enforcement] advised that he and his partner
      viewed security camera footage of the staff, [O.R.] and other kids entering
      the movie theatre. [O.R.] was unsteady on his feet and not able to walk on
      his own. This is when they entered the movie. [O.R.] looked like he was
      about to pass out and they were dragging him along by his arm, and then
      [O.R.] falls to the ground as they pass the ticket counter. Staff then drag
      [O.R.] down the hallway a few feet before picking him back up and continue
      to force him forward to get him into the movie theatre room 12. There are
      no cameras in room 12. At the end of the movie, they exit room 12 and they
      lay [O.R.] on the floor. [O.R.] was clearly unresponsive, and staff called 911
      at 10:06PM on 11/27/2024. About 3-4 minutes goes by before they start
      CPR on [O.R.]. That is when ambulance arrived and took [O.R.] outside and
      started doing chest compressions, this is when [law enforcement] arrived.
      [O.R.] was taken to Hunt Regional in Greenville. [O.R.] was pronounced
      deceased shortly after.

As of February 5, 2025, RCCI’s investigation into the child’s death remained open as the
agency continued to gather information regarding the circumstances of O.R.’s death. (It
was previously paused at the instruction of law enforcement before resuming).
Preliminary information gathered by RCCI raises serious concern regarding the actions,
and inactions, of the RTC staff members responsible for the care of O.R. on the day of his
death.

On that day, the investigative record shows that O.R. reported to staff members that he
felt unwell. Children who were housed with O.R. reported to the investigator that he woke
them up early that morning, screaming and crying in pain, and complaining of a
stomachache. A staff member said he helped O.R. to the bathroom, and that O.R. had an
episode of encopresis in the bathroom. Medication logs showed that Staff 1 administered
Tylenol to O.R. at 7:30 a.m. for constipation. During his medication review that day, O.R.


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complained that he had a stomachache and was constipated,14 and was observed by
participants in the review to look tired. Staff 1 said that after attending the medication
review, O.R. had to be helped into the house and onto the couch, where he fell asleep.15
Staff members and children reported that O.R. slept most of the day and did not eat any
of his meals that day.16

That evening, O.R. reportedly informed staff members that he did not want to go to the
movie theatre because he continued to feel unwell and weak. Despite this request, staff
members took O.R. to the movie theatre where surveillance footage showed that O.R. was
unable to stand without staff members’ assistance and “collapsed to the ground.”17, 18
Despite O.R.’s physical condition, Staff 1 and Staff 2 carried O.R. into the theater and Staff
2 placed the child in a seat. Staff 2 stated to the investigator that as he placed O.R. in the
seat, O.R. urinated on himself; staff members did not report taking any action to change
O.R. out of his soiled clothing. O.R. was, then, left unattended for the duration of the
movie, during which time he passed away.19



14 During her interview, the doctor who conducted O.R.’s medication review noted that the psychotropic

medications O.R. was prescribed could have caused constipation. O.R. was prescribed four psychotropic
medications, including a medication (Caplyta) that the FDA has not yet approved for children. O.R. was
also prescribed a medication to treat enuresis. The operation’s nurse said that after O.R. complained of
constipation that morning, she asked the owner of the facility to purchase a laxative for him. The owner
said he bought the laxative and offered it to O.R., but O.R. refused to take it.

According to O.R.’s record, O.R. was born with gastroschisis (a birth defect that causes the intestines to
bulge through an opening in the abdominal wall) and was treated surgically for this condition prior to
entering foster care. His records also show that he suffered frequent bouts of encopresis.
15 The staff member who escorted him to the medication review said that after the review, O.R. complained

that his legs were weak, and that the child fell and did not want to get up. The staff member helped him up
and took him inside the house.
16 Some of the children and staff members who were interviewed said that O.R.’s symptoms – including

constipation – started several days prior to his death, but these reports were not as consistent as the
agreement among children and staff members that O.R. reported feeling ill the day of his death.
17 During interviews, staff members and children described O.R. falling several times after getting out of the

van at the theater and before being carried by staff members to his seat in the movie theatre, including one
instance when O.R. fell and reportedly hit his head, causing him to cry.
18 According to security video footage from inside the theater, as O.R. approached the theater staff person

who was tearing the tickets for patrons, O.R. clutched a rail with his right hand and a staff member held
him under his left arm. O.R. appeared to be having difficulty walking, his head was rolling to the side and
forward, and his legs appeared to be buckling. When he rounded a corner after the ticket was taken, O.R.
fell to the floor. A staff member dragged O.R. a short distance before another staff member, who was walking
behind them, helped pick O.R. up, then supported him under both arms as they continued to walk down
the hallway. Toward the end of the hallway, O.R. appeared to lose his balance and fall against the wall. A
staff member again assisted him; however, O.R. did not appear to be able to stand up. Video from a camera
closer to the entrance to the movie auditorium captured O.R. fall to the ground again. At that point, Staff 2
picked him up and carried him into the theater.
19 Video footage captured Staff 1 carry O.R. out of the theater after the movie ended. O.R. was clearly

deceased; his legs were slightly folded, and his body appeared stiff and lifeless. Staff 1 took O.R. from Staff
2, and they moved him to the side, attempting to shield him from other patrons leaving the theater. Staff 1
tried to move O.R.’s head, which was bent to the side, but it did not move. Staff 1, Staff 2, and another staff
member milled around looking at and touching O.R. for several minutes while Staff 1 was on the phone (he
called 911). Finally, after three minutes, Staff 1 began to attempt CPR.

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The county medical examiner’s office has not yet finalized the results of O.R.’s autopsy;
however, preliminary autopsy results conveyed by the medical examiner’s office to DFPS
reported the presence of “necrotic gut tissue in [OR's] intestinal tract. [OR] was diagnosed
with Volvulus. A volvulus is a medical emergency that occurs when a loop of intestine
twists around itself and the mesentery that supports it, causing a blockage in the bowel.”

As of this writing, law enforcement instructed RCCI to refrain from conducting interviews
as the department pursues its own investigation of O.R.’s death.

Thompson’s RTC had a history of regulatory problems. The Greenville campus, where
O.R. was placed, was issued its initial permit August 12, 2009, and its full permit on
February 26, 2010. The operation was placed on a voluntary plan of action (POA)
requiring staff to be trained in “appropriate restraints and boundaries” in 2011, which it
successfully completed. The POA was implemented on August 9, 2011, just two days
before the closure of an investigation that resulted in 14 citations being issued for
minimum standards investigations, because interviews confirmed that:

        [C]hildren were fighting each other as a means of working out issues
        between them. The fights were referred to as a game called “Tap Out” or
        “Choke Out.” Many of the children called the fights…wrestling. The rules
        were the same as the Ultimate Fighting Championship (UFC) and they
        could do anything except punch each other. It was reported that the
        children have choked each other, twisted limbs and slammed each other
        into walls and onto the floor…Some of the children were choked to the point
        of turning colors during the fights…Staff would “referee” the fights, make
        bets on who they thought would win, and would sometimes fight the
        children.

The investigation also revealed that children were being restrained in prone or supine
positions, with their limbs twisted behind their backs. Children also reported being
tackled by staff. Children also revealed inappropriate sexual behavior occurred between
children at the facility.

Similar concerns continued to be reported, even after the successful completion of the
2011 POA. Reports of staff failing to intervene in fights between children has been an
ongoing complaint in intakes, and the subject of multiple citations associated with
violation of minimum standards for caregiver responsibilities.

In 2018, a child had to be hospitalized after a restraint resulted in a laceration to his liver;
the investigation resulted in an RTB for Physical Abuse. Enforcement Team Conferences
(ETCs) also showed a history of concerns;20 the ETCs noted problems with the operation’s
physical site and caregiver responsibility, particularly related to appropriate supervision
and discipline. In 2019, the ETC for the period that covered February 1, 2018 through
January 31, 2019, noted “an increase in the number of citations issued for investigations”
and “a pattern of citations regarding the physical site.” In 2022, the ETC concerns noted:

20 The ETC list begins in 2018; there is no ETC history in CLASS prior to that conference.


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        There have been several investigations where the behavior of staff could
        harm children.21 For example threatening to use corporal punishment and
        taking a child’s items. The concern is that the Administrator may give staff
        many chances when policy is not followed.22

As a result of concerns expressed during ETCs, the operation was placed under more
frequent inspections in 2019, 2021, 2022, and 2023.

After two DFPS investigations resulted in substantiated findings of Physical Abuse in
2023, the RTC was placed on a second POA on February 17, 2024. Documentation
describing the basis for the POA stated:

        Between February 2022 and July 2024, the operation received a total of 51
        deficiencies. In 2022, there were 6 deficiencies cited, while in 2023, that
        number increased to 28 – a 50% rise compared to the previous year. The
        bases for the Plan of Action highlighted recurring deficiencies across several
        Minimum Standards subchapters: E (Personnel), P (Physical Site), M
        (Discipline and Punishment), L (Medication), J (Childcare), I (Admission,
        Service Planning, Discharge), H (Child Rights), Q (Recreation Activities),
        and TAC (drug testing).

The operation did not successfully complete this POA. Though the operation successfully
completed the action items required by the POA, the operation received 28 citations while
the POA was pending. Many of these citations were issued for problems associated with
staff supervision, specifically regarding staff failures to intervene in altercations between
residents, some of which resulted in children requiring hospital treatment for injuries.
Despite the operation’s ongoing problems, an August 21, 2024 contact note in CLASS
indicates that HHSC opted not to refer the operation for any type of enforcement action
but would instead continue to monitor Thompson’s RTC on an expedited frequency. The
note indicated that the operation would be reviewed (or “staffed”) again by HHSC in three
months.

Despite the operation’s history of regulatory violations, the owners were allowed to open
a second campus in Farmersville in 2019. Thompson’s RTC – Farmersville received an
initial permit on March 22, 2019, and a full permit on March 5, 2020. Staff 1 was first


21 The operation received a citation for corporal punishment at the conclusion of an investigation of a

November 18, 2021 intake, because a caregiver was “slapping and threatening to slap children.”
22 This ETC also noted that a specific staff person was “no longer employed” by the facility. That staff person

was one of the alleged perpetrators in the 2011 investigation that resulted in 14 citations being issued.
Though the investigation resulted in 14 citations, ANE was Ruled Out. He continued to be named as an
alleged perpetrator in investigations through 2021. In June 2021, the operation received a citation after it
was determined that this staff person had traded his used athletic shoes for a child’s brand-new Air Jordans,
The child had “diminished cognitive skills.” The operation also received citations in cases in which the staff
person was alleged to have failed to appropriately supervise children; in one case, the supervision lapses led
to the failure to intervene in a fight which resulted in a child’s nose being broken. In another, the
supervision problems led to inappropriate sexual contact between children.

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employed as a direct caregiver at this campus. The operation’s first ETC, completed on
March 9, 2021, expressed the following concerns:

        There was some concern that the operation was not providing treatment
        services to children admitted…At the next inspection the inspection will
        focus on admission, placement, and service plan. [Staff 1] was identified as
        a concerning employee. At the next inspection conditions regarding this
        employee will be reviewed.

A review of CLASS showed that while Staff 1 was employed at the Farmersville campus,
he was an alleged perpetrator in four investigations with allegations of Physical Abuse in
2020 and three in 2021. In these investigations, at least six children made an outcry that
Staff 1 had physically abused them. Though DFPS did not substantiate the allegations, at
the conclusion of a 2020 minimum standards investigation, HHSC issued the operation
a citation for corporal punishment23 after finding that Staff 1 hit and pushed children at
the operation:

        Based on the information gathered during this investigation allegations of
        [Staff 1] hitting and grabbing children at the operation could be
        validated…Out of the five children interviewed, four stated that [Staff 1] has
        either hit, slapped, or pushed them.

Before the follow-up inspection identified by the ETC could occur, the operation
voluntarily closed on June 1, 2021.

Sometime after the Farmersville campus closed, Staff 1 transitioned to work at the
Greenville campus where O.R. was placed, and the pattern of behavior continued.
Between December 2021 and the date of O.R.’s death, at least four children made outcries
that Staff 1 physically abused them during their stay at the Greenville campus.

In 2022, another RTC, North Star, opened on the Farmersville campus under different
ownership. However, the administrator of North Star (who was also named as a
controlling person) was also the administrator for Thompson’s -Farmersville and is the
wife of the CEO of the Thompson’s RTCs. North Star RTC suffered from many of the same
problems that plagued the Thompson’s RTCs. North Star closed on December 18, 2024.24


23  The operation was also cited for violation of a minimum standard associated with caregiver
responsibilities at the conclusion of a 2020 investigation for Neglectful Supervision, because Staff 1 and
another staff member were not appropriately supervising the residents, resulting in five children engaging
in a physical altercation with another child, which caused a physical injury that required medical treatment.
24 While open, the operation received two substantiated findings for Physical Abuse. One of those resulted

from a March 22, 2024 intake that was reported by a monitoring team member during a site visit. During
the visit, members of the Monitors’ staff witnessed a staff member punch a child.

North Star RTC was placed on a POA on August 19, 2024. However, DFPS placed the operation on a
placement hold in June 2024, and the operation voluntarily closed while the POA was still pending (the
POA period was to end on February 19, 2025). Despite this, HHSC shows the POA as having been
successfully completed.

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F.B., Born March 26, 2007; Died January 19, 2025

F.B., a 17-year-old girl, passed away from an unknown cause(s). On the day of her death,
the child, who was placed in an RTC, was on a weekend visit to her grandfather’s home.
After the grandfather returned home from work, F.B. was discovered deceased in her
bedroom, along with another home member (age 18). Law enforcement recovered
narcotic and alcoholic substances and a firearm in the room where F.B. was found. As of
February 5, 2025, CPI’s investigation into F.B.’s death remained open.

R.O., Born April 8, 2019; Died February 5, 2025

R.O., a five-year-old boy, appears to have passed away from significant medical
complications. R.O. had the following diagnoses: global developmental delay, cerebral
palsy, failure to thrive, dysphagia and a history of infantile spasms and seizures. R.O. used
a gastrostomy tube. From 2023 until his death, R.O. resided in a therapeutic foster home,
where he was provided with nursing hours for 24 hours each day. On February 5, 2025,
R.O.’s foster parent observed him unresponsive in the home and subsequently initiated
CPR and called 911. EMS transported the child to the hospital, where he was pronounced
deceased. As of February 5, 2025, RCCI’s investigation into R.O.’s death remained open.

R.F., Born November 17, 2017; Died February 5, 2025

R.F., a seven-year-old girl, appears to have passed away from significant medical
complications. R.F. had the following diagnoses: agenesis (absent) of the corpus
callosum, chronic lung disease, renal failure (stage 3, moderate), club foot,
bronchopulmonary dysplasia, congenital hypoplasia, global developmental delay,
hypotonia, vesicoureteral reflux (VUR) grade 1, bilateral hydronephrosis, hypertension,
congenital laryngomalacia, bilateral contractures of the arms and legs, failure to thrive,
low iron, colpocephaly, neuro-irritability and umbilical hernia. R.F. used a gastrostomy
tube, a ventilator, a wheelchair and a catheter; she was blind, nonmobile and nonverbal.

From 2019 until her death, R.F. resided in a foster home for children with primary
medical needs, where she was provided with nursing hours for 24 hours each day. On
February 4, 2025, R.F.’s foster parent took her to the hospital for “unsteady levels;” the
child was not admitted and returned home. On February 5, 2025, R.F.’s blood pressure
dropped, and her foster parents called EMS. After attempts by EMS to raise her blood
pressure, R.F. passed away in the home. As of February 5, 2025, RCCI’s investigation into
R.F.’s death remained open.




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